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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
KRISTEN MICHELLE LEE JOSEPH,                                           CASE NUMBER

                                                                                           CV 23-9991 SVW-E
                                                      PLAINTIFF(S)
                               v.
LOS ANGELES COUNTY, et al.,                                                     ORDER RE TRANSFER PURSUANT
                                                                                   TO LOCAL RULE 83-1.3.1
                                                                                 (Magistrate Judge Related Cases)
                                                    DEFENDANT(S).

[This form shall be used only in cases which do not qualify for direct assignment to the most recently assigned magistrate
judge (see General Order 05-07).]
                                                               CONSENT
           I hereby consent to transfer of the above-entitled case 9 as to matters referred pursuant to General Order
05-07            as to any discovery matters that are or may be referred to a Magistrate Judge to my calendar pursuant to Local
Rule 83-1.3.1 and this Court's General Orders.

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                    Date                                              United States Magistrate Judge

                                                           DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                            United States Magistrate Judge

                                REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case        DW478 "%4 and the present case:

      A.         Arise from the same or closely related transactions, happenings or events; or
  Y B.           Call for determination of the same or substantially related or similar questions of law and fact; or
 Y C.            For other reasons would entail substantial duplication of labor if heard by different judges.


                                              NOTICE TO COUNSEL FROM CLERK

           On all documents subsequently filed in this case, please substitute the initials "%4    after the case number
in place of the initials of the prior judge, so that the case number will read DW478 "%4 . This is very
important because the documents are routed to the assigned judges by means of these initials



cc:   ✔    Previous Judge        Statistics Clerk
CV-34A (06/23)               ORDER RE TRANSFER PURSUANT TO LOCAL RULE 83-1.3.1 (Magistrate Judge Related Cases)
